17-35930-cgm     Doc 37     Filed 01/29/18       Entered 01/29/18 12:45:55               Main Document
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                                               January 28, 2018


Hon. Chief Judge Cecelia G. Morris
US Bankruptcy Court
Southern District of NY
355 Main Street
Poughkeepsie, New York 12601

       Re:     SUSANNAH R APPELBAUM (Debtor)
               Bankruptcy Case No: 17-35930-CGM

Dear Judge Morris:

        Submitted with this letter is a proposed order dismissing the above referenced Debtor’s
Chapter 13 Bankruptcy, without prejudice. Please note that this case was not converted under
sections 706, 1112, or 1208 of Title 11 of the United States Code. Thank you for your attention
to this matter.


                                                                     Very truly yours,


                                                                     /s/ H. Bruce Bronson, Esq.
                                                                     H. Bruce Bronson,

Cc: Jeffrey Sapir, Esq., Chapter 13 Trustee




Acknowledged by:      _/s/ SUSANNAH R APPELBAUM
                      SUSANNAH R APPELBAUM
